Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 1 of 39 PAGEID #: 108




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


ROCKY RATLIFF,                                 :       CIVIL CASE NUMBER 2:19-cv-04746
                                               :
               PLAINTIFF,                      :
                                               :       JUDGE MICHAEL H. WATSON
-VS-                                           :
                                               :
                                               :
THE OHIO STATE UNIVERSITY,                     :
                                               :
               DEFENDANT.                      :

                                    AMENDED COMPLAINT

       Now comes the Plaintiff, Rocky Ratliff by and through Counsel, and states and avers as

follows for his Amended Complaint against the Defendant The Ohio State University:

                                 JURISDICTION AND VENUE

1.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331

and 1334 as the claims are matters in controversy that arise under the laws of the United States of

America. Specifically, the claims are asserted under Title IX of the Education Amendments of

1972, 20 U.S.C. § 1681, et seq. and, the Civil Rights Act, U.S.C. § 1983, et seq.

2.     Venue is proper in the Southern District of Ohio pursuant to 28 U.S.C. § 1391(b) as the

events giving rise to the Plaintiffs’ claims occurred within this Court’s district.

                                 PRELIMINARY STATEMENT

3.     This is a civil rights lawsuit being brought by a former student of The Ohio State

University (“OSU”) that is among the estimated 1,500 to 2,500 male students that were sexually

assaulted, abused, molested, and/or harassed by their OSU Physician and Athletic Team Doctor,

Dr. Richard Strauss, M.D.


                                                   1
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 2 of 39 PAGEID #: 109




4.     At OSU, Dr. Strauss was an employee, tenured faculty member, and the Associate

Director of OSU’s sports medicine program. He served as a physician in both the athletic

department and the OSU student health center.

5.     Dr. Strauss’ OSU career spanned over nineteen (19) years from approximately 1979

through 1998. Throughout his approximate nineteen (19) years at OSU as both a physician in

the athletic department and in the student health center, Dr. Strauss used his position of trust and

confidence as a physician to sexually molest, sexually assault, sexually abuse, and/or sexually

harass countless OSU male student-athletes and students.

6.     The Plaintiff consented to receiving medical treatment from Dr. Strauss while a student-

athlete and student at OSU. However, as a student-athlete, he never consented to Dr. Strauss’

sexual molestation, sexual assault, sexual abuse, and/or sexual harassment as Dr. Strauss

frequently went beyond the stated medical purpose of his examinations, and his examinations

often were not consistent with the standard of care for medical examinations.

7.     Dr. Strauss was designated the team physician for many sports centered out of Larkins

Hall, including men’s wrestling. As such, student-athlete wrestlers were susceptible to Dr.

Strauss if they wanted to receive medical treatment.

8.     Larkins Hall was home to the OSU Varsity Wrestling Team as their practice facility. The

wrestling locker room was located on the main floor, inside the general men’s locker room. The

wrestling locker room had a separate locked area with lockers located around the outside walls of

the room. Also, the wrestlers shared a shower area, toilet area, and sauna area with the general

OSU population that included students, employees, faculty members, and staff of OSU. Further,

the wrestlers would walk across a hallway to access their training room which was located on the

main floor of Larkins Hall. This training area had approximately six (6) training tables,



                                                 2
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 3 of 39 PAGEID #: 110




approximately two whirlpools, and a private office area where the wrestlers would meet with Dr.

Strauss. Further, most wrestlers accessed the wrestling room by walking up a private spiral

staircase located at the end of the hallway that separated the locker room and training room. This

spiral staircase ascended to the third floor wrestling room.

9.     After wrestling practice, the wrestlers would shower in the first floor general shower

area. Here, wrestlers were often harassed not only by Dr. Strauss, but also by numerous

students, employees, faculty members, and/or staff. These individuals harassed the wrestlers by

leering and/or voyeuristically staring at the wrestlers while they showered. These individuals

sometimes would shower with the wrestlers, stare at the wrestlers, and excessively lather their

genital area. Moreover, some of these individuals became erect in the shower area and even

masturbated while in the shower area. Also, some individuals voyeuristically stared at the

wrestlers from inside a bathroom stall by looking through a crack in the door or by

voyeuristically looking over the bathroom stall door.

10.    The OSU wrestlers would frequently use the sauna facilities at Larkins Hall, which was

part of the general men’s locker room. While using the sauna facilities, Dr. Strauss and other

students, employees, faculty members, and/or staff would voyeuristically watch the wrestlers.

11.    In the locker room, shower area, toilet area, and/or sauna facilities, wrestlers were

solicited for dates and sexual encounters.

12.    Members of the OSU wrestling team and OSU wrestling coaching staff consistently

discovered male on male sexual encounters in the locker room, bathroom, sauna facilities, spiral

staircase, and wrestling room.

13.    Further, each OSU athlete had to participate in a pre-season physical before the athlete

was cleared to participate in their sport. Many times, these pre-season physicals were held in the



                                                 3
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 4 of 39 PAGEID #: 111




training room at the Woody Hayes Athletic Center. During the pre-season physicals, athletes

would participate in a number of stations that included a station for blood pressure, a station to

check their reflexes, a station to make a mouthpiece, etc. The final station would be a hernia

examination with Dr. Strauss.

14.    As students progressed through the stations, the hernia station always took the longest.

Here, Dr. Strauss would excessively fondle and inspect the genitals and anuses of athletes.

These exams lasted approximately five (5) minutes to fifteen (15) minutes.

15.    Dr. Strauss would give explanations for the prolonged need for his medical exams.

Frequently, Dr. Strauss would tell wrestlers that he was just being thorough, needed to check

their lymph nodes, needed to check for STDs, and/or that he was checking for testicular cancer.

16.    Typically for a pre-season physical, Dr. Strauss would ask the athlete to enter the room.

Dr. Strauss would shut the door and ask the athlete to undress. Dr. Strauss would exam the

athlete from his shoulders to his groin area. Dr. Strauss would closely look at the athlete’s skin,

lifting the athlete’s arms and running his hands down the wrestler’s chest. Then, Dr. Strauss

would grab a stool on wheels and roll up to the athlete’s groin area so the athlete’s penis was at

the height of Dr. Strauss’ facial area. Sometimes, Dr. Strauss would turn off the lights and

would use a purplish light headlamp to examine the athlete. Either way, Dr. Strauss’ face was

close enough that the athlete could feel his breath on his penis and testicles. Typically, Dr.

Strauss would hold the athlete’s testicles in his left hand and he gently massaged the athlete’s

testicles. With his right hand, Dr. Strauss would hold the athlete’s penis and move the athlete’s

penis in different directions so as to appear to be examining the shaft of the athlete’s penis. Dr.

Strauss would continue this examination with the athlete for approximately five (5) minutes to

fifteen (15) minutes. Once completed, occasionally, Dr. Strauss would ask the athlete to turn



                                                  4
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 5 of 39 PAGEID #: 112




around. Dr. Strauss would instruct the athlete to put his hands on his buttocks and spread the

athlete’s buttocks. Then, Dr. Strauss would instruct the athlete to cough. During this anus

examination, Dr. Strauss would still be on his stool with the athlete’s buttocks approximately one

(1) foot from Dr. Strauss’ face. Dr. Strauss failed to use examination gloves during the pre-

season physicals.

17.    In April 2018, OSU authorized an independent investigation into whether Strauss had

sexually abused students-athletes, and if so, the extent to which OSU knew about Strauss’

conduct. The law firm of Perkins Coie, LLP conducted approximately a yearlong independent

investigation that interviewed over five hundred (500) individuals with a cost to OSU of over six

(6) million dollars. On May 15, 2019 Perkins Coie, LLP issued a report with findings from its

independent investigation into Strauss’ acts of sexual abuse and the degree to which OSU knew

of or permitted Strauss to abuse OSU students, titled, Sexual Abuse Committed by Dr. Richard

Strauss at the Ohio State University, issued on May 15, 2019. This report substantiated many of

the facts that are pled in this Complaint and the previous Consolidated Complaints pending

before this Court. The Perkins Coie report found that Dr. Strauss had sexually abused at least

177 male student-patients that he was charged with as an OSU Physician and that the University

personnel had knowledge of Strauss’ sexually abusive treatments of male student-patients as

early at 1979, but that complaints and reports about Strauss’ conduct were not elevated beyond

the OSU Athletics Department or OSU Student Health until 1996.

18.    The Jeanne Clery Disclosure of Campus Security Policy and Campus Crime Statistics

Act (known as the Clery Act) signed in 1990 is a federal statute codified at U.S.C.§ 1092 with

implementing regulations in the U.S. Code of Federal Regulations at 34 C.F.R. 668.46. This

federal statute requires U.S. colleges and universities participating in federal financial aid



                                                  5
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 6 of 39 PAGEID #: 113




programs to maintain and disclose campus crime statistics and security information on or around

their campuses. The Act is enforced by the U.S. Department of Education. As a result of the

Clery Act, OSU has been required to file annual security reports since 1991. Even though OSU

Team Doctor and Employee Dr. Strauss had been sexually harassing and molesting OSU male

athletes and male students since 1979, OSU never reported these sexual abuses till 2019 when

OSU reported in 2018 that there were thirty (30) incidents of rape on campus by Dr. Strauss and

nine hundred ninety two (992) incidents of fondling on the OSU campus by Dr. Strauss.

19.      The Clery Act also requires universities to send timely warnings to their university

community when there are known risks to public safety on campus. By October of each year,

universities must publish and distribute their annual campus security report. This report is

required to provide crime statistics for the prior three years, policy statements regarding various

safety and security measures, campus crime prevention program descriptions and procedures to

be followed in the investigation and prosecution of alleged sex offenses.

20. As categorized by the Perkins Coie Report, Strauss abused the Plaintiffs and other OSU

students in one or more of the following ways:

      a. In the context of a medical examination that caused the student to reach ejaculation or

      nearly ejaculation;

      b. In the context of a medical examination that caused the student to reach erection or near

      erection;

   c. Unnecessary fondling or groping of the genitals in the context of a medical examination, or

   medically unnecessary examinations of the genitals or rectum;

   d. Examination techniques that included: unnecessary nudity, excessive touching of non-

  genital/ non-rectal areas of the student’s body; inappropriate verbal commentary or sexually



                                                   6
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 7 of 39 PAGEID #: 114




  charged questioning; lack of medical gloves for genital examinations; unnecessarily invasive

  physical positions; medical treatment outside of a clinical setting; and quid pro quo

  arrangements; and

  e. Inappropriate and sexually abusive conduct outside of the examination room, including

  showering alongside student-patients, loitering in student athlete’s locker rooms and engaging

  in voyeuristic behavior, and initiating fraternization with patients. (See Perkins Coie Report

  p. 40).

21. Even though the Perkins Coie Report released on May 15, 2019 reflects the significant

number of OSU people in 2018 and 2019 who admitted to the investigators that they knew about

Dr. Strauss’ disgusting sexual tendencies, there are nonetheless many other OSU employees and

agents who did not admit to knowing about Dr. Strauss due to memory lapses, death, mental

disability, selective amnesia, or a failure to cooperate with the investigators of Perkins Coie for

the fear of their own potential personal liability for failure to report or disclose the abusive or

sexual misconduct by Dr. Strauss.

 22. The Perkins Coie investigation and report disclosed that at least the following OSU officials

received reports about Dr. Strauss. Two (2) OSU Athletic Directors, Two (2) OSU Head Team

Physicians, Six (6) OSU Assistant Athletic Directors, Five (5) OSU Team Physicians, Twenty-

Two (22) OSU Coaches, One (1) OSU Athletic Training Director, Four (4) OSU Athletic

Trainers, Eighteen (18) OSU Student Trainers, Four (4) OSU Student Health Officials and ,

Three (3) OSU Student Health Employee. In addition, there was an unknown number of OSU

personnel executives, lawyers, trustees, and/or OSU officials that were aware of the complaints

against Strauss.




                                                   7
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 8 of 39 PAGEID #: 115




23. The name of the OSU officials that received reports or student complaints about the sexual

conduct of Dr. Strauss include but are not limited to the following:

       a.      OSU Athletic Director, Jim Jones;

       b.      OSU Athletic Director and Assistant University Vice President, Andy Geiger;

       c.      OSU Assistant Athletic Director Kate Riffee;

       d.      OSU Head Medical Director and Head Team Physician Dr. John Lombardo;

       e.      Assistant OSU Athletic Director Archie Griffith;

       f.      Assistant OSU Athletic Director Larry Romanoff;

       g       OSU Vice President David Williams;

       h.      OSU Head Team Physician and Director of Sports Medicine Dr. Bob Murphy;

       i.      Associate OSU Athletic Director Paul Krebs;

       j.      OSU Student Health Director Dr. Forrest Smith;

       k.      OSU Tennis Team Physician Trent Sickles;

       l.      OSU Student Health Center Sports Medicine Clinic Director David Henderson;

       m.      OSU Director of Athletic Training Bill Davis;

       n.      OSU Director of Student Dr. Ted Grace;

       o.      OSU Head Fencing Coach Charlotte Remenyik;

       p.      OSU Head Wrestling Coach Russ Hellickson;

       q.      OSU Head Assistant Wrestling Coach Jim Jordan;

       r.      OSU Head Trainer Vince O’Brien;

       s.      OSU Track and Field Coach Frank Zubovich;

       t.      OSU Swimming Coach Dick Sloan;

       u.      OSU Athletic Director Hugh Hindman;



                                                 8
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 9 of 39 PAGEID #: 116




           v.     OSU Assistant Athletic Director Richard Delaney;

           w.     OSU Co-Head Athletic Trainer Billy Hill

           x.     OSU Athletic Academic Counselor James Hall

           z.     OSU Head Basketball Trainer Mike Bordner.

24.        On May 17, 2019 OSU President Dr. Michael Drake and OSU Board of Trustees Chair

Michael Gasser issued a letter to members of The Ohio State University that stated the findings

of the independent investigation were shocking and painful to comprehend. The two OSU

leaders offered their profound regret and sincere apologies to each person that endured Dr.

Strauss’ abuse, and for the OSU’s fundamental failure at the time to prevent the abuse.

They further stated that university personnel at the time had knowledge of complaints and

concerns about Dr. Strauss’ conduct, as early as 1979 but failed to investigate or act

meaningfully. In addition, they stated that “On behalf of the university, we offer our profound

regret and sincere apologizes to each person who endured Dr. Strauss’ abuse and for our

institution’s fundamental failure at the time to prevent the abuse.”

25.        Once the Perkins Coie Investigative report was released on May 15, 2019 and the letter

from the OSU President Dr. Michael Drake and OSU Board of Trustees Chair Michael Gasser

was released on May 17, 2019 which resulted in extensive nationwide media coverage, the

Plaintiffs came to the following realizations:

      a. Dr. Strauss’ conduct during the physical and medical examinations was not medically

      necessary and was in fact sexual assault;

      b.   There was a tremendous magnitude and widespread scope of sexual abuse to OSU

      students by Dr. Strauss;




                                                   9
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 10 of 39 PAGEID #: 117




    c.   OSU had knowledge of Dr. Strauss’ sexual abuse of male students for decades and chose

    to ignore this sexual abuse;

    d.   OSU had received repeated and numerous complaints about Dr. Strauss and his

    prolonged genital examinations and other disturbing sexual inclinations and proclivities but

    OSU took no actions against him;

    e.   OSU Athletic Directors Assistant, Assistant Athletic Directors, Coaches, Trainers,

  Administrators, Physicians, Deans and other OSU employees all knew about the complaints

  and reports made by OSU students and did nothing; and

    f.   The plaintiff was not the only one sexually molested and sexually assaulted but many,

  many other OSU students had been sexually assaulted, raped, sodomized, groped, fondled,

  masturbated, digitally penetrated, and emotionally scarred between 1979-1998 due to OSU’s

  total and deliberate indifferences to the actions of Dr. Strauss. As stated in the OSU Letter of

  May 17, 2019 there was a “fundamental failure at the time to prevent the abuse”

 26.     Plaintiff takes no pleasure in bringing this lawsuit. OSU is an esteemed institution of the

 higher learning and he continues to love OSU dearly and remain devoted member of The

 Buckeye Nation. As such, Plaintiff has an extremely difficult time understanding how the state

 up north can fully acknowledge and compensate the victims/ survivors of sexual abuse, whereas

 a leading Big 10 institution such as OSU has struggled to do so.

 27.     Plaintiff who was an OSU athlete was honored to represent OSU in competitive NCAA

 Division I athletics and did his best to continue the University’s tradition of excellence.

 28.     Plaintiff honorably attended OSU expecting the University would provide him with a safe

 and supportive environment that would help him perform both academically and athletically.




                                                  10
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 11 of 39 PAGEID #: 118




 29.     Plaintiff believed that OSU Team Physicians like Dr. Strauss hold a special relationship

 of trust and confidence with their student-patients. These physicians become even more

 important to a NCAA Division I athlete as student-athlete requires immediate treatment in order

 to compete in the rigors of their respective sport.

 30.     Plaintiff trusted OSU to act in his best interests when selecting, training, and supervising

 the team physicians on its faculty, which included the need to regularly and competently evaluate

 the quality of care and the integrity of the medical services that Dr. Strauss provided to OSU’s

 students and athletes.

 31.     Plaintiff trusted that OSU personnel would not conceal, disclose, or disregard known

 circumstances that raised a substantial likelihood that Plaintiff would be sexually molested,

 sexually assaulted, sexually abused, and/or sexually harassed by Dr. Strauss. Likewise, Plaintiff

 trusted that OSU personnel would not conceal, disclose, or disregard known circumstances that

 raised a substantial likelihood that Plaintiff would be sexually harassed and sexually abused at

 the athletic facility of Larkins Hall.

 32.     However, instead of taking action to stop Dr. Strauss’ sexual abuse, OSU not only turned

 a blind eye to his sexual abuse, but facilitated the abuse, and concealed the abuse. OSU required

 its student-athletes to see Dr. Strauss for annual physicals and medical treatment in order to

 participate in university sports and maintain their athletic scholarships, even after student-

 athletes complained to their coaches about the ways Dr. Strauss touched them during medical

 examinations. At least one coach threatened athletes with having to see Dr. Strauss if they did

 not listen to the coach.

 33.     OSU administrators and employees of Student Health Services also facilitated and

 concealed Dr. Strauss’ abuse. For example, after a student lodged a complaint detailing Dr.



                                                  11
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 12 of 39 PAGEID #: 119




 Strauss’s inappropriate sexual touching and comments during an examination, the Director of

 Student Health Services legitimized the abuse and concealed the abuse by telling the student that

 no one had complained about Dr. Strauss before and that Dr. Strauss had said the examination

 was medically appropriate.

 34.    At all times relevant to this complaint, OSU officials with the authority to institute

 corrective measures actively concealed, failed to disclose, and showed deliberate indifference

 towards circumstances that indicated Dr. Strauss was sexually abusing male student-athletes and

 students.

 35.    At all times relevant to this complaint, OSU personnel failed to implement corrective

 measure despite having actual knowledge Dr. Strauss was sexually abusing students and Larkins

 Hall presented a sexually hostile environment to male student athletes.

 36.    OSU officials knowingly, intentionally, and/or recklessly aided, abetted, and/or

 concealed Dr. Strauss’ sexual predation on its student-athletes and students. OSU ignored

 complaints and disregarded commonly known information and improper and/or inappropriate

 practices used by Dr. Strauss over his nineteen (19) year career.

                                             PARTIES

 37.    The Plaintiff hereby incorporate by reference the allegations set forth and contained in

 Paragraphs One (1) through Thirty-Six (36) as if fully written herein.

 38.    Defendant The Ohio State University (hereinafter referenced as OSU) was at all relevant

 times contained herein and presently continues to be a public university organized and existing

 under the laws of the State of Ohio.




                                                 12
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 13 of 39 PAGEID #: 120




 39.     Defendant OSU received at all relevant times contained herein and presently continues to

 receive federal financial assistance, which subjects OSU to Title IX of the Educational

 Amendments of 1972, 20 U.S.C. § 1681, et seq. and, the Civil Rights Act, U.S.C. § 1983, et seq.

 40.     At all relevant times herein, Plaintiff was enrolled at OSU as a student during Dr.

 Strauss’ employment with OSU.

 41.     Plaintiff participated in NCAA Division I intercollegiate athletics, while enrolled at OSU

 as a member of OSU’s Varsity Wrestling Team.

 42.     Plaintiff Rocky Ratliff is a resident of Marion, Ohio. He is a 1993 graduate of Marion

 Harding High School, where he was a three (3) time OHSAA Wrestling State Qualifier and 1993

 State Runner-up. Plaintiff was a former scholarship athlete and two-year starter for the varsity

 wrestling team at Hofstra University in Hempstead, New York. In 1995, Plaintiff transferred to

 OSU to be a member of the OSU Varsity Wrestling Team.

 43.     Plaintiff attended OSU from the years of 1995-1997. Plaintiff earned his Bachelor’s

 Degree in Political Science from OSU, a Masters Degree from Tiffin University, and his Juris

 Doctorate from Thomas M. Cooley Law School in Lansing, Michigan. While at OSU, Plaintiff

 was a two (2) year member of the varsity wrestling team from 1995 to 1997.

 44.     Plaintiff believes that he was examined approximately twenty (20) times by Dr. Strauss

 for a physical, injuries, skin infections, and/or sickness and Dr. Strauss sexually assaulted Mr.

 Ratliff approximately twelve (12) times.

 45.     Plaintiff was inappropriately groped in his genital area by Dr. Strauss when he was

 examined for his physical, strep throat, flu, high ankle sprain, and a carbuncle on the back of his

 neck.




                                                  13
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 14 of 39 PAGEID #: 121




 46.     Plaintiff recalls that Dr. Strauss sexually assaulted the Plaintiff to the point where he was

 near erection several times as Dr. Strauss attempted to masturbate the Plaintiff. This occurred on

 approximately four (4) occasions.

 47.     Plaintiff states that Dr. Strauss never used any medical gloves during Plaintiff’s exams

 unless Dr. Strauss dealt with blood.

 48.     Plaintiff states that he had almost daily molestations from Dr. Strauss for a period of

 approximately three (3) weeks due to a carbuncle on the back of his neck. In addition, Plaintiff

 states that when Dr. Strauss went to drain the carbuncle, Dr. Strauss would put his clothed semi-

 erect penis on Plaintiff’s right shoulder blade. As Dr. Strauss would pop and/or drain Plaintiff’s

 carbuncle, Dr. Strauss would move his semi-erect penis into Plaintiff’s shoulder blade area.

 49.     Plaintiff states that Dr. Strauss would shower with the wrestlers almost daily. Dr. Strauss

 would constantly voyeuristically watch the wrestlers in the showers, locker room, and sauna

 area.

 50.     Plaintiff states that his teammates would constantly tell Dr. Strauss to turn around in the

 shower and Dr. Strauss would do a complete three hundred and sixty (360) degree turn and start

 watching the wrestlers again.

 51.     Plaintiff states that Larkins Hall had numerous individuals that would frequent the

 shower and sauna area to watch the wrestlers. These individuals would sometimes masturbate to

 the wrestlers and/or walk around the wrestlers with erections. Occasionally, male predators

 would masturbate from behind the toilet stall door as they voyeuristically watched the wrestlers

 shower.

 52.     Plaintiff states that there were multiple meetings where OSU Head Wrestling Coach

 would explain to the team that they needed to look out for one another in Larkins Hall but he was



                                                  14
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 15 of 39 PAGEID #: 122




 doing everything possible to get the wrestling team to a new facility and a better training

 environment.

                                              FACTS

 53.    The Plaintiff hereby incorporate by reference the allegations set forth and contained in

 Paragraphs One (1) through Paragraphs Fifty-Two (52) as if fully written herein.

 54.    Defendant OSU employed Dr. Richard Strauss, M.D., as a faculty member from

 approximately September 1978 until approximately March 1, 1998.

 55.    In approximately September 1978, Dr. Strauss started with OSU as an Assistant Professor

 in the College of Medicine. Months later, Dr. Strauss was volunteering with the University

 Athletics Department as a team physician for several teams located in Larkins Hall.

 56.    By approximately 1980, Dr. Strauss was serving as an Associate Director of the Sports

 Medicine program.

 57.    By approximately 1981, Dr. Strauss began an appointment in the Athletics Department,

 including medical responsibilities at the Sports Medicine Clinic located in the University’s

 Student Health Services.

 58.    Over the years, Dr. Strauss’ responsibilities as a team physician expanded beyond

 Larkins Hall to other athletic facilities, which included: the Woody Hayes Athletic Center, Ernie

 Biggs Athletic Training Facility, and St. John Arena. Moreover, Dr. Strauss treated patients at

 Student Health Services.

 59.    Dr. Strauss was granted tenure by OSU as an associate professor in approximately 1983.

 60.    Dr. Strauss was granted a full professor with tenure by OSU in approximately 1992.

 61.    In addition to his above duties, in approximately 1994, Dr. Strauss also began a part-time

 appointment treating students on the third floor of Wilce Student Health Center.



                                                 15
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 16 of 39 PAGEID #: 123




 62.      In approximately March 1998, Dr. Strauss voluntarily retired and was granted Emeritus

 Status by the OSU Board of Trustees in the School of Public Health. Dr. Strauss’ Emeritus

 Status was bestowed upon him despite the lack of review or approval from the Dean of the

 College of Medicine and Public Health.

 63.      Over his career, Dr. Strauss treated male student-athletes in the following sports:

 swimming, diving, wrestling, gymnastics, fencing, lacrosse, hockey cheerleading, volleyball,

 soccer, track, golf, baseball, tennis, water polo, and football

 64.      During the above stated times and/or years and while working for Defendant OSU, Dr.

 Strauss sexually abused the Plaintiffs and other OSU Students under the guise of medical

 treatment during their medical examination in one or more of the following ways:

          a.     Dr. Strauss extremely manipulated or stimulated his student-patient’s genitals,

 which included unwanted oral sex, anal digital penetration, masturbation, attempted

 masturbation, and fondling that caused ejaculation or near ejaculation;

          b.     Dr. Strauss fondled the student-patient to the point of erection or near erection;

          c.     Dr. Strauss performed prolonged and/or medically unnecessary genital and rectal

 exams;

          d.     Dr. Strauss committed other inappropriate and abusive practices toward his

 student-patients such as unnecessary nudity of the student-patient, excessive touching and/or

 groping of the student-patient, verbal commentary and inappropriate questions, lack of

 examination gloves, inappropriate physical position and/or invasion of space of the student-

 patient, performing treatments outside of a clinical setting, and “quid pro quo” arrangements

 with the student-patient; and




                                                   16
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 17 of 39 PAGEID #: 124




         e.     Dr. Strauss inappropriately showered alongside student-patients, loitered in

 student-athletes locker rooms, engaged in voyeuristic behavior, and initiated fraternization with

 student-patients by calling their residences, inviting them to lunch/dinner and paying for their

 meals, and asking to take pictures of the student-patients to help them start a modeling career.

 65.     Strauss committed the above-mentioned acts of sexual abuse and sexual harassment

 consistently on an almost daily basis as an OSU faculty member and OSU athletic team

 physician.

 66.     As set forth below, Plaintiff as student-patient was vulnerable to Strauss’ sexual abuse

 and the student-patient was not able to identify Strauss’ conduct as sexual abuse when it

 occurred.

 67.     Plaintiff was treated by Dr. Strauss in his official capacity as an OSU Team Physician

 and/or medical doctor working for OSU.

 68.     Plaintiff had little and/or no experience with medical doctors and/or examinations

 without his parents being present. Plaintiff were taught to respect his elders and were under the

 belief that an OSU Team Physician and/ or medical doctor working for OSU had his best health

 interest in mind during his examination.

 69.     The Plaintiff who was an OSU athlete attributed and/or rationalized Dr. Strauss’

 inappropriate behavior as being the thoroughness needed for participation in NCAA Division I

 Athletics, which said Plaintiff knew he had to undergo a pre-season physical in order to

 participate.

 70.     Plaintiff was sexually assaulted and/or abused by Dr. Strauss under the guise of

 legitimate medical examinations.




                                                 17
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 18 of 39 PAGEID #: 125




 71.    Plaintiff, an OSU Athlete, was compliant with the Dr. Strauss as his OSU Team

 Physician in order to regain his good health to compete, in order to be cleared to compete, and/or

 represent OSU to the best of his ability.

 72.    Plaintiff, an OSU Athlete, was not educated nor taught that male sexual abuse could exist

 even within the confines of the OSU Athletic Department. Further, male sexual abuse was not a

 commonly acknowledged problem or commonly discussed among non-educators or people

 outside the medical field.

 73.    Dr. Strauss preyed upon the Plaintiff with his superior medical knowledge and was able

 to dispel any of the Plaintiffs’ objections with this knowledge. Plaintiff did not have the

 education and/or experience in the medical field to limit Dr. Strauss’ physical contact during his

 examinations.

 74.    Plaintiff believed and trusted OSU. Plaintiff believed OSU would protect, inform, and/or

 remove him from harmful situations, even if it involved his Team Physician and/or an OSU

 medical doctor. Plaintiff attended OSU with the expectation that the University would

 consistently provide him with a safe and supportive environment that would help him thrive.

 75.    Plaintiff, an OSU Athlete, believed that accusing an OSU Professor and/or Team

 Physician of committing sexual assault would risk his status on the team and/or their athletic

 scholarship as well as their status as a student at OSU.

 76.    Plaintiff, an OSU Athlete, feared being ridiculed and/or ostracized if he complained to his

 teammates and the teammates failed to report similar experiences.

 77.     Plaintiff had no options in his treatment. OSU provided their medical staff and facilities.

 Plaintiff needed to see Dr. Strauss not only to heal quickly, but also, to save time, and/or money,

 as well as to be cleared to compete for OSU.



                                                  18
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 19 of 39 PAGEID #: 126




 78.        OSU led Plaintiff to believe that Strauss’ sexually abusive examinations, methods, and

 statements were medically acceptable behavior and/or practices.

 79.        As previously alleged not until 2019, Plaintiff had a reasonable basis for believing that

 OSU had actual knowledge that Dr. Strauss was sexually abusing male students in a clinical

 setting.

 80.        As previously alleged not until 2019 did Plaintiffs have a reasonable basis for believing

 that OSU concealed or remained deliberately indifferent to the substantial risk that Dr. Strauss

 was sexually abusing him and other OSU male students.

 81.        As previously alleged, not until 2019, did Plaintiff have any reasonable way of knowing

 that OSU had actual knowledge that Dr. Strauss was sexually abusing male student-athletes and

 students in a clinical setting. Plaintiff had no way of learning what and when OSU knew about

 Dr. Strauss and/or how OSU chose to permit continued sexual abuse by Dr. Strauss. Plaintiff

 could not have exercised reasonable due diligence that would have revealed how OSU’s acts and

 omissions caused Plaintiff to suffer independent injuries from the injuries caused by Dr. Strauss.

 82.        OSU had a deliberate indifference toward Dr. Strauss’ conduct as student-athletes,

 students, and a few OSU staff reported and referred complaints about Dr. Strauss to various OSU

 officials and employees throughout Dr. Strauss’ career but OSU did nothing.

 83.        At all relevant times in regard to this Complaint, and on information and belief, OSU

 staff and/or employees with authority to stop Dr. Strauss’ access to patients failed to prevent Dr.

 Strauss from sexually abusing patients in a clinical setting, and/or implement other corrective

 measures as OSU had actual knowledge that there was a substantial likelihood that Strauss was

 sexually assaulting and abusing male student-athletes and male students. Moreover, OSU had

 actual knowledge that Dr. Strauss posed a substantial risk of sexual abuse as early as 1979.



                                                     19
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 20 of 39 PAGEID #: 127




 84.    OSU employees in the Sports medicine program and the Athletics Department had actual

 knowledge that Dr. Strauss was conducting prolonged genital exams and that Dr. Strauss refused

 to allow athletic training staff to be present during such exams.

 85.    OSU, through its own administrators, faculty, and staff, had actual notice of Dr. Strauss’

 sexual abuse of male student-athletes and students. Yet, OSU denied, dismissed, disregarded,

 minimized, refuted, silenced, and even concealed complaints about Dr. Strauss’ sexual

 misconduct. Even though OSU had evidence that Dr. Strauss was a substantial risk to their male

 student-athletes and male students, OSU failed to act. On Plaintiff’s information and belief,

 OSU willfully allowed Dr. Strauss to prey amongst its male student-athletes and male students,

 even though many high ranking officials such as Athletic Directors, Assistant Athletic Directors,

 Associate Athletic Directors, Head Team Physicians, Team Physicians, and Athletic Trainers

 could have taken action to prevent this systemic sexual abuse.

 86.    Further, nurses at Student Health Services made various complaints regarding Dr.

 Strauss. These complaints were that Dr. Strauss showed up unannounced to treat patients,

 performed prolonged examinations behind closed doors, and failed to chart and/or fill out

 medical records, which was and continues to be a standard medical practice in order to document

 a patient’s medical history and provide follow-up care.

 87.    Plaintiff believes this lack of medical documentation is troubling and OSU allowed Dr.

 Strauss to continue to disregard charting and/or filling out of important medical documentation.

 This lack of documentation allowed Dr. Strauss to misrepresent the nature of a patient’s visit

 and/or allowed Dr. Strauss to deny whether he even examined the said patient.

 88.    OSU also failed to direct Strauss to stop showering and/or sharing a locker room with

 their male student-athletes, failed to direct a third person from the training staff to be present



                                                   20
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 21 of 39 PAGEID #: 128




 when treating their male student-athletes, failed to properly investigate any of reports and/or

 rumors, and failed to have a meaningful sexual abuse policy for its students.

 89.    Simply put, OSU failed its male student-athletes and male students from the years 1979-

 1998 as OSU had actual knowledge that their employee and faculty member, Dr. Strauss, was a

 sexual predator and OSU was deliberately indifferent to these facts.

 90.    Additionally, OSU failed to address the sexual harassment in its athletic facility at

 Larkins Hall.

 91.    Larkins Hall was home to many sports such as swimming, diving, gymnastics, fencing

 and wrestling.

 92.    In Larkins Hall, the OSU Varsity Wrestlers were victims of a harassing environment that

 allowed OSU’s faculty, staff, and students to voyeuristically leer and/or stare at these wrestlers

 as they showered or used the sauna facilities.

 93.    Further, male on male sexual interactions were frequent in areas of Larkins Hall that were

 frequented by the OSU wrestling team. There were instances of male on male sexual encounters

 in the bathroom, the sauna, the private winding stairwell entrance to the wrestling room, the

 wrestling room, and the bathroom in the hallway outside of the wrestling room.

 94.    The OSU Wrestling Coaches repeatedly tried to secure a separate shower facility for their

 wrestlers and/or move their wrestlers into a separate facility. Further, in approximately 1995,

 two wrestlers approached OSU Athletic Director with schematic drawings to separate the

 wrestlers into their own space. OSU Athletic Director reported to the wrestlers that these plans

 would be too expensive. As a concession, the OSU Athletic Department cleaned the wrestling

 locker room carpets that week.




                                                  21
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 22 of 39 PAGEID #: 129




 95.    The wrestling coaches consistently asked for better accommodations as the Larkins Hall

 sexual harassment environment seriously impacted the psyche and morale of the OSU Wrestling

 Team. The OSU wrestling coaches would even address the team as to this issue and continually

 informed the wrestlers that the OSU wrestling coaching staff was doing everything the staff

 could do to remove the team from the sexual harassment.

 96.    Dr. Strauss was a part of the sexual harassment environment of Larkins Hall. Dr. Strauss

 took long showers with the wrestling team. During these showers, Dr. Strauss would

 voyeuristically stare at the wrestlers. After his shower, Dr. Strauss would enter the wrestling

 locker room and position himself to leer at the wrestlers as he patted himself dry. Additionally,

 he would use the sauna facilities with the wrestlers and voyeuristically watch them. Dr. Strauss’

 showering obsession was to the point that he would sometimes reduce his examination times to

 allow him to shower. Moreover, many wrestlers saw Dr. Strauss take more than one shower in a

 short amount of time, which allowed Dr. Strauss to voyeuristically gaze at his “favorite

 wrestlers.”

 97.    OSU had actual knowledge that their OSU Varsity Wrestling Team was being sexually

 harassed in Larkins Hall and OSU was deliberately indifferent to these facts. Even though OSU

 knew of Larkins Hall’s sexually hostile environment, OSU took zero steps to protect their

 student-athletes.

 98.    OSU had actual knowledge that their employee and faculty member, Dr. Strauss, was

 showering and using the wrestling locker room as well as other male sports’ locker rooms in

 Larkins Hall and OSU was deliberately indifferent to these facts.

                                      CAUSES OF ACTION

 FIRST CAUSE OF ACTION – VIOLATIONS OF TITLE IX, 20 U.S.C. §1681(a), et seq.



                                                 22
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 23 of 39 PAGEID #: 130




 99.        The Plaintiffs hereby incorporate by reference the allegations set forth and contained in

 Paragraphs One (1) through Paragraphs Ninety-Eight (98) as if fully written herein.

 100.       Title IX of the Education Amendments of 1972 (“Title IX”), 20 U.S.C. § 1631(a), states:

 “No person in the United States shall, on the basis of sex, be excluded from participation in, be

 denied the benefits of, or be subjected to discrimination under any education program or activity

 receiving Federal financial assistance….”

 101.       Title IX is implemented through the Code of Federal Regulations. See 34 C.F.R. Part

 106.34 C.F.R. § 106.86(b) provides:”…A recipient shall adopt and publish grievance procedures

 providing for prompt and equitable resolution of student and employee complaints alleging any

 action which would be prohibited by this part.”

 102.       As explained in Title IX guidance issued by the U.S. Department of Education’s Office

 for Civil Rights, sexual harassment of students is a form of sex discrimination covered by Title

 IX.

 103.       Title IX covers all programs of a school that receives any federal financial assistance, and

 covers sexual harassment, including sexual assault, by school employees, students, and third

 parties.

 104.       Sexual harassment is defined as unwelcome conduct of sexual nature, including

 unwelcome sexual advances, requests for sexual favors, and other verbal, nonverbal, or physical

 conduct of a sexual nature when either:

            a.     the conduct is made as a term or condition of an individual’s employment,

 education, living environment or participation in a University community;




                                                     23
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 24 of 39 PAGEID #: 131




        b.       the acceptance or refusal of such conduct is used as the basis or a factor in

 decisions affecting an individual’s employment, education, living environment, or participation

 in a University community;

        c.      the conduct unreasonably impacts an individual’s employment or academic

 performance or creates an intimidating, hostile or offensive environment for that individual’s

 employment, education, living environment, or participation in a University community.

 105.   At all relevant times contained herein, OSU received federal financial assistance. As a

 result, OSU is subject to Title IX 20 U.S.C. §1681(a), et seq., OSU owed Plaintiff a duty to act

 prudently and with reasonable care, and otherwise to promptly investigate all allegations of

 sexual harassment, sexual assault, and sexual abuse regarding Dr. Strauss as he was an OSU

 employee, faculty member, and Team Physician.

 106.   OSU subjected the Plaintiff and other OSU students to Dr. Strauss, who sexually

 molested, assaulted, abused, and sexually harassed the Plaintiff. This included, but is not limited

 to, the following: performing unwanted oral sex, fondling of their testicles, fondling of their

 penises, digitally penetrating their anuses, rubbing his erect genitals on their bodies during an

 examination, voyeuristically staring at them while they showered, making sexual comments and

 other inappropriate comments toward them, calling them at their residences, inviting them and

 taking them to lunch/dinner, and asking the Plaintiff to take semi-nude photographs. All of these

 actions were all acts of sexual discrimination under Title IX.

 107.   OSU had actual knowledge of the serial and consistent sexual molestation, assault, abuse,

 and harassment and permitted it to continue unchecked throughout Dr. Strauss’ employment.




                                                  24
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 25 of 39 PAGEID #: 132




 108.   From approximately 1979-1998, male student-athletes, male students, and coaches

 conveyed complaints and concerns regarding Dr. Strauss’ inappropriate sexual conduct to OSU

 administrators and employees.

 109.   Given the magnitude of Dr. Strauss’ abuse-involving students and student athletes he

 evaluated and treated over the span of two decades, it would implausible for OSU to claim that it

 did not know about Dr. Strauss’ sexual abuse.

 110.   OSU was required to promptly investigate and address Plaintiffs’ (and other OSU

 students’) allegations, reports and/or complaints of other unwelcome, inappropriate touching and

 comments by Dr. Strauss, but OSU did not do so.

 111.   OSU created and was deliberately indifferent to a sexually hostile culture withing its

 athletic and student health programs, by, among other things:

 a.     Mishandling students’ reports about Dr. Strauss’ conduct and/or discouraging students

 from reporting Dr. Strauss’s conduct:

 b.     Failing to promptly and appropriately investigate, remedy, and respond to complaints

 about Dr. Strauss’ conduct;

 c.     Promoting Dr. Strauss and increasing his access to OSU students, despite students’

 complaints about Dr. Strauss’ conducts;

 d.     Failing to adequately supervise Dr. Strauss, after learning that he posed a substantial risk

 to the safety of male students and student-athletes;

 e.     Failing to take corrective action to prevent Dr Strauss from sexually harassing other

 students;

 f.     Requiring student-athletes to see Dr. Strauss for annual physicals and medical treatment

 in order to participate in university sports to maintain their athletic scholarships, even after



                                                   25
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 26 of 39 PAGEID #: 133




 student-athletes complained to athletic directors, coaches, and trainers about the ways Dr. Strauss

 touched them during medical examinations;

 g.     Threatening male athletes’ participation in OSU sports if they refused to get physicals

 and/or medical treatment from Dr. Strauss;

 h.     Joking about Dr. Strauss’ conduct with other student-athletes; and

 i.     Falsely representing to at least one student who reported sexual harassment by Dr.

 Strauss that there had been no prior complaints about Dr. Strauss and that OSU Student Health

 had only received positive comments about Dr. Strauss;

 112.   OSU willfully allowed Dr. Strauss to prey amongst its male student-athletes and male

 students, even though many high-ranking officials such as Athletic Directors, Assistant Athletic

 Directors, Associate Athletic Directors, Head Team Physicians, Team Physicians, and Athletic

 Trainers could have acted to prevent this systemic sexual abuse.

 113.   OSU failed to respond promptly and adequately to address the sexual misconduct of Dr.

 Strauss and to protect its male student-athletes and male students, which is a blatant violation of

 Title IX.

 114.   OSU, through its acts and omissions, acted with deliberate indifference to the sexual

 molestation, assault, abuse, and harassment that the Plaintiff as well as other male OSU students

 endured. OSU failed to respond to the sexual misconduct of Dr. Strauss and their inaction was

 clearly unreasonable in light of the known circumstances.

 115.   OSU’s failure to promptly respond, investigate, and act to investigate complaints and

 then remedy the situation created by their employee, faculty member, and Team Physician, Dr.

 Strauss, caused the Plaintiff to experience further sexual molestation, assault, abuse, and

 harassment and/or made the Plaintiff more vulnerable to it into the future.



                                                  26
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 27 of 39 PAGEID #: 134




 116.   OSU’s failure to promptly respond, investigate, and act to investigate complaints and

 then remedy the situation created by their employee, faculty member, and Team Physician, Dr.

 Strauss, created a sexually hostile environment that effectively denied Plaintiff access to

 educational opportunities and benefits at OSU, including appropriate medical care. OSU’s

 deliberate indifference was so severe, pervasive, and objectively offensive that it deprived the

 Plaintiff of access to the educational opportunities or benefits provided by OSU.

 117.   As a direct and proximate cause of OSU’s blatant violation of Title IX as well as the

 rights bestowed to Plaintiff under Title IX, Plaintiff has suffered and continues to suffer

 emotional distress, physical manifestations of emotional distress, mental anguish, fear,

 depression, anxiety, trauma, disgrace, embarrassment, shame, humiliation, loss of self-esteem,

 and loss of enjoyment of life, which will continue into the future. Also, Plaintiff was prevented

 from and continues to be prevented from obtaining the full enjoyment of life. Plaintiff has

 sustained and continues to sustain loss of earnings and earning capacity. Finally, Plaintiff has

 incurred various personal expenses.

 118.   OSU’s creation of and deliberate indifference to the sexually hostile culture within its

 athletic and student health programs substantially increased the risk that Plaintiff and other OSU

 students would be sexually harassed.

 119.   The sexual harassment that Plaintiff suffered was so severe, pervasive and objectively

 offensive that it effectively barred their access to educational opportunities and benefits,

 including a safe educational environment and appropriate medical care.

                                         LARKINS HALL




                                                  27
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 28 of 39 PAGEID #: 135




 120.   The Plaintiff, an OSU wrestler, mainly trained in their respective sport in Larkins Hall.

 As such, the Plaintiff, an OSU wrestler, was entitled to use the athletic facilities at Larkins Hall

 free from sexual molestation, assault, abuse, and harassment.

 121.   OSU owed the Plaintiff a duty to investigate and remedy the conditions that made

 Larkins Hall a sexually hostile and abusive environment.

 122.   OSU had actual knowledge of the hostile sexual environment at Larkins Hall. The

 Athletic Director, Assistant Athletic Directors, Associate Athletic Directors, and/or Building

 Supervisor had actual knowledge of the hostile environment and these individuals had the

 authority to take corrective action as individuals using the facility were required to be students,

 faculty, staff, and/or employees of OSU. Yet, these individuals failed any opportunity to rectify

 the hostile environment at Larkins Hall.

 123.   Also, OSU was deliberately indifferent to this hostile environment even though OSU

 exercised control over Larkins Hall. In fact, this environment was so severe, pervasive, and

 objectively offensive that it deprived the Plaintiff wrestler of access to his educational

 opportunities and/or benefits provided by OSU.

 124.   Numerous complaints were made by wrestlers to the former OSU Wrestling Coaches.

 Athletic Director, an Assistant Athletic Director, and other high-ranking OSU employees. These

 complaints included but were not limited to the following:

 a.     Dr. Strauss was ogling and gawking male student athletes at Larkins Hall while they

 showered or were in the locker room;

 b.     Dr. Strauss was showering with male student athletes for hours at a time, several times a

 day;




                                                  28
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 29 of 39 PAGEID #: 136




 c.     Dr. Strauss was making sexual comments and other inappropriate comments to the male

 students. In addition, he was calling them at their residences inviting them to dinner, asking them

 to take semi-nude photographs, and inviting them to his home;

 d.     Larkins Hall was a toxic, sexualized place where male voyeurs gathered to gawk and

 stare and masturbate as the male student athletes showered or stood naked in the locker room,

 and

 e.     Male OSU students were openly having sex with each other on the stairwells and other

 places in Larkins Hall.

 SECOND CAUSE OF ACTION - VIOLATIONS OF TITLE IX, 20 U.S.C. §1681(a), et seq.

                      Deliberate Indifference to Prior Sexual Harassment

 125.   Plaintiffs incorporate by reference the allegations set forth and contained in Paragraphs

 One (1) through Paragraphs One Hundred and Twenty-Four (124) as if fully written herein.

 126.   Before Dr. Strauss sexually harassed the Plaintiff, OSU had actual knowledge of Dr.

 Strauss’s prior sexual harassment of male students at OSU.

 127.   Based on Dr. Strauss’s prior conduct, OSU had actual knowledge of the substantial risk

 that Dr. Strauss would sexually harass other male students at OSU.

 128.   OSU officials, with the knowledge described above, had the authority to address the risk

 posed, by Dr. Strauss, and had the authority to take corrective measures by, among other things,

 closely supervising Dr. Strauss, not allowing him to shower with student-athletes, or terminating

 his employment.

 129.   OSU’s failure to address the substantial risk posed by Dr. Strauss, given prior complaints

 and reports about his inappropriate conduct, was clearly unreasonable in light of the known

 circumstances.



                                                 29
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 30 of 39 PAGEID #: 137




 130.   By its acts and omissions, OSU was deliberately indifferent to the substantial risk that Dr.

 Strauss would sexually harass other male students at OSU.

 131.   As a result of OSU’s deliberate indifference, Plaintiff was subjected to severe sexual

 harassment by Dr. Strauss, including sexual assault in the guise of medical care.

 132.   The sexual harassment that Plaintiff suffered was so severe, pervasive, and objectively

 offensive that it deprived Plaintiff of access to educational opportunities and benefits, including a

 safe educational environment and appropriate medical care.

 133.   As a direct and proximate result of OSU’s deliberate indifference to Dr. Strauss’s prior

 sexual harassment of OSU, which violated Title IX, Plaintiff has suffered and continue to suffer

 damages and injuries.

              THIRD CAUSE OF ACTION - FRAUDULENT CONCEALMENT

                              BY THE OHIO STATE UNIVERSITY

 134.   The Plaintiff hereby incorporate by reference Paragraph One (1) through Paragraphs One

 Hundred and Thirty-Three (133) as fully written herein.

 135.   Plaintiff hereby alleges that OSU committed Fraudulent Concealment by committing

 Fraud, as previously described in detail in this Amended Complaint and also described hereafter.

 OSU concealed the existence of Plaintiffs’ claims, by making material representations to

 Plaintiff involving past or existing facts at the time of Dr. Strauss’ sexual assaults, by

 representing, insinuating or doing the following:

        a.      Defendant Strauss’ examinations were “medically appropriate”; and

        b.      Defendant Strauss’ conduct was “not sexual abuse”; and

        c.      Continuing to employ Dr. Strauss as a medical doctor thereby representing that

 Strauss was not a sexual deviant despite actual and/or constructive knowledge that he was a



                                                   30
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 31 of 39 PAGEID #: 138




 sexual deviant who engage in acts of sexual abuse at the OSU Student Health Center, Larkins

 Hall, and other buildings at the OSU campus.

 136.   These material representation(s) to Plaintiffs were false, in that OSU had actual

 knowledge of sexual abuse by Dr. Strauss from other students and student athletes on the OSU

 campus and knew that the appropriateness of his “treatment(s)” had been questioned in the past.

 Further, OSU continued to employ Dr. Strauss, thereby providing him unfettered access to

 hundreds of males including Plaintiff.

 137.   OSU made the material representations(s) with the intent that the material

 representation(s) should be acted upon by the Plaintiff, and that each Plaintiff should believe the

 following:

        a.      That the “treatments” were in fact “treatments;”

        b.      That the “treatment(s)” or examinations were proper, appropriate, and legitimate;

        c.      That he had not been sexually assaulted;

        d.      That he should believe Dr. Strauss was a legitimate doctor who did not commit

 sexual assault; and

        e.      That he should not reasonably believe and not be aware of a possible lawsuit or

 cause of action that he might have against OSU.

 138.   Plaintiff acted in reliance upon the material representations(s), in that the Plaintiff

 reasonably believed the following:

        a.      That the “treatments” were in fact “treatment”;

        b.      That the “treatment” or examinations were proper, appropriate, and legitimate;

        c.      That they had not been sexually assaulted;

        d.      That they should continue the “treatment(s);”



                                                  31
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 32 of 39 PAGEID #: 139




        e.      That Dr. Strauss was a legitimate doctor who did not engage in sexual assault;

        f.      That they did not have and were not aware of a possible lawsuit or cause of action

                that they had against OSU.

 139.   Plaintiff thereby was injured, in that Plaintiff suffered in the following ways:

        a.      Plaintiff could not stop the sexual assault;

        b.      Plaintiff continued to undergo the “treatment(s)” or examinations resulting in

                sexual assaults; and

        c.      Plaintiff suffered related physical manifestations thereof, such as sleep

                deprivation, physical illness, severe emotional distress, loss of familial

                relationships, loss of enjoyment of life. In addition, Plaintiff will continue to

                suffer pain of the mind and body, and will continue to be prevented from

                performing daily activities and obtaining full enjoyment of life. Further, some

                Plaintiffs will continue to sustain loss of earnings and earning capacity.

 140.   OSU concealed the fraud as to Dr. Strauss by making fraudulent material representations

 to Plaintiff that were designed and/or planned to prevent inquiry and escape investigation and

 prevent subsequent discovery of this fraud as to Dr. Strauss.

 141.   OSU continued to employ Dr. Strauss as a medical doctor thereby representing that

 Strauss was not a sexual deviant despite actual and/or constructive knowledge that he was a

 sexual deviant who engaged in acts of sexual abuse on OSU students at the OSU Student Health

 Clinic, Larkins Hall, and other buildings on the OSU campus.

 142.   Dr. Strauss published the following articles in regards to Anabolic Steroids while

 employed at OSU:

 a.     Side Effects of Anabolic Steroids in Weight-Trained Men
        Richard H. Strauss, J.E. Wright, G.A. Finerman, D.H. Catlin.

                                                  32
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 33 of 39 PAGEID #: 140




        Phys Sportsmed, December, 1983

 b.     Anabolic Steroids
        Richard H. Strauss.
        Clinical Sports Medicine. July, 1984

 c.     Anabolic Steroid Use and Perceived Effects in Ten Weight-Trained Women Athletes
        Richard H. Strauss, M.T. Liggett, R.R. Lanese.
        The Journal of the American Medical Association (JAMA), May, 1985

 d.     Controlling the Supply of Anabolic Steroids
        Richard H. Strauss.
        Phys Sportsmed, May 1987

 e.     Selected Psychological Characteristics of Anabolic-Androgenic Steroid Users
        M.S. Bahrke, J.E. Wright, J.S. O’Connor, Richard H. Strauss, D.H. Catlin.
        New England Journal of Medicine, September. 1990

 d.     Anabolic Steroids in the Athlete – Annual Review of Medicine
        1991 – Paper adopted in part from the authors’ chapter “Drugs in Sports” in Sports
        Medicine, edited by Richard H. Strauss Philadelphia: Saunders (1991) 2nd Edition

 e.     Endrocrine Effects in Female Weight Lifters Who Self-Administer Testosterone and
        Anabolic Steroids
        W.B. Markley, Richard H. Strauss, D.J. Leizman, M. Liggett, L.M. Demers, November,
        1991

 f.     Psychological Moods and Subjectivity Perceived Behavioral and Somatic Changes
        Accompanying Anabolic-Androgenic Steroid Use
        M.S. Bahrke, J.E. Wright, Richard H. Strauss, D.H. Catlin.
        American Journal of Sports Medicine, November – December 1992


 143.   Dr. Lombardo, OSU head team physician, authored or co-authored the following articles

 in regards to Anabolic Steroids while employed at OSU:

 a.     The Effects of Anabolic Steroids and Strength Training on the Human Immune
        Response
        Calabrese LH, Kleiner SM, Barna BP, Skibinski CL, Kirkendall DT, Lahita RG, John A.
        Lambardo
        Medicine and Science in Sport and Exercise August 1989

 b.     Anabolic-Androgenic Steroids
        JA Lombardo NIDA Research Monograph 1990



                                               33
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 34 of 39 PAGEID #: 141




 c.       Anabolic Steroids in Athletes
          Yesalis CE, Wright JE John A. Lombardo
          Wien Medizinishe Wochenschrift 1992 German

 d.       Psychiatric Effects and Psychoactive Substance Use in Anabolic-Androgenic Steroid
          Users
          Malone DA Jr., Dimeff RJ, John A. Lombardo, Sample RH Clinical Journal of Sports
          Medicine 1995

 e.       Steroids and Steroid-Like Compounds
          Blue, JG, John Lombardo
          Clinics in Sports Medicine Journal 1999 July

 f.       Performance-Enhancing Supplements
          Pecci MA, John A. Lombardo
          Physical Medicine and Rehabilitation Clinics of North America November 2000

 g.       Supplements and Athletes
          John A. Lombardo
          Southern Medical Journal September 2004


 144.     Plaintiff states that he received and/or witnessed Dr. Strauss administering steroids

 and/or performance enhancing drugs to athletes at OSU in order for the athletes to “get an edge.”

 These drugs include but are not limited to: Ephedrine, Creatine, Clenbuterol, and “Animal

 Juice,” a name given to an unknown substance that’s label stated, “for animal use only.”

 Plaintiff state that not only did Strauss regularly administer Anabolic Steroids, but athletes at

 OSU were also able to receive injections of Corticosteroids like Decadron in order to

 immediately cure the athletes’ pain and keep the OSU athletes running at a high level at all

 times.

 145.     Plaintiff states that Dr. Strauss told athletes that the substance would boost their athletic

 performance. However, rarely was any OSU athlete ever taking any of these drugs listed above,

 counseled by Dr. Strauss as to any potential side effects that the steroid and/or performance

 enhancing drug might have. In fact, in a 1983 article titled Social Factors in Wrestlers’ Health



                                                    34
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 35 of 39 PAGEID #: 142




 Problems, written by Dr. Strauss and published in The Physician and Sportsmedicine, Dr. Strauss

 discussed that wrestlers were highly motivated by social pressures to win. Further, he stated,

 “[w]restlers tend to take seriously only those health problems that prevent participation,

 regardless of the long-term consequences.”

 146.      On information and belief, Plaintiff state that Dr. Strauss was receiving the steroids

 and/or performance enhancing drugs that he distributed from the OSU Athletes from OSU

 Student Health Center.

 FOURTH CAUSE OF ACTION – VIOLATIONS OF TITLE IX 20 U.S.C. §1681(a), et seq.

                                      Unlawful Retaliation Claim

 147.      The Plaintiff hereby incorporate by reference the allegations set forth and contained in

 Paragraphs One (1) through Paragraphs One Hundred and Forty-Six (146) as if fully written

 herein.

 148.      Retaliatory conduct is within the broad prohibition of discrimination made unlawful by

 Title IX.

 149.      Plaintiff states that he engaged in the protective activity of reporting and disclosing the

 rampant sexual molestation, assault, abuse, and sexual harassment that occurred from the years

 1979-1998 at OSU by OSU employee, faculty member, and Team Physician, Dr. Strauss. Also,

 the Plaintiff exposed the sexually hostile environment that existed at Larkins Hall.

 150.      On May 15, 2019 the Perkins Coie Report was issued and the contents of the report soon

 became local news as well as nationwide news and put OSU in a very negative and unfavorable

 light to the general public.

 151.      OSU employees, faculty, staff, former employees of OSU became aware of at least some

 of the portions of the Perkins Coie Report and that there were public allegations by some OSU



                                                    35
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 36 of 39 PAGEID #: 143




 wrestlers that when Congressmen Jim Jordan was the Head Assistant OSU Wrestling Coach they

 had told him about Dr. Strauss sexually harassing some of the male wrestlers. Several of these

 wrestlers were adamant that they had reported Dr. Strauss to Jim Jordan.

 152.   As a result, certain OSU employees, faculty, staff, former employees of OSU, friends,

 and/or benefactors of OSU recklessly, intentionally and/or deliberately tried to disparage the

 Plaintiff and/or silence his voice so these Plaintiff’s reports and disclosures of the rampant

 sexual, molestations, abuse and harassment by OSU employee Dr. Strauss, OSU’s indifference

 and intentional concealment of Dr. Strauss’ sexual harassment and sexual escapades, and

 Congressmen Jordan’s actual knowledge of Dr. Strauss’ sexual harassment at the time he was an

 OSU wrestling coach would not be believed by the general public or come to further light.

 153.   In July 2018, one current OSU employee Matt Finkes gave a public interview on

 Columbus radio station QFM 96.3. During his interview, the OSU employee tried to paint a

 derogatory picture of the Plaintiffs in this lawsuit and similarly situated Plaintiffs in other

 lawsuits as he stated that the reports concerning Dr. Strauss and OSU were basically a “money

 grab”. Also, the Matt Finkes pointed out that OSU would not simply lay down the way

 Michigan State had done.

 154.   In the summer of 2018, OSU employees, faculty, staff, former employees of OSU,

 friends and/or benefactors of OSU emailed, texted, and/or called some Plaintiffs and in this

 lawsuit similarly situated Plaintiffs in other lawsuits order to get the Plaintiffs and similarly

 situated Plaintiffs to not reveal their individual stories and/or silence them.

 155.   Further, in the summer of 2018 OSU employees, faculty, staff, former employees of

 OSU, friends and/or benefactors of OSU emailed, texted, and/or called some of the Plaintiffs in




                                                   36
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 37 of 39 PAGEID #: 144




 this lawsuit and similarly situated Plaintiffs in other OSU lawsuits in order to assess the extent of

 the damage that Defendant OSU could face in a possible lawsuit.

 156.      On information and belief, OSU has not taken disciplinary action or any other action

 against these OSU employees, faculty, staff, former employees of OSU, friends and/or

 benefactors of OSU that emailed, texted, and/or called the Plaintiffs and similarly situated other

 Plaintiffs. As such, OSU has ratified these individuals’ actions and independently violated Title

 IX.

       FIFTH CAUSE OF ACTION – VIOLATION OF SECTION 1983 (42 U.S.C. § 1983)

 157.      The Plaintiffs hereby incorporate by reference the allegations set forth and contained in

 Paragraphs One (1) through Paragraphs One Hundred and Fifty-Six (156) as if fully written

 herein.

 158.      Plaintiffs enjoys protections under the Fourteenth Amendment of the United States

 Constitution.

 159.      Plaintiffs enjoy the constitutionally protected Due Process right to be free from invasion

 of bodily integrity through sexual assault, battery, molestation, and harassment under the

 Fourteenth Amendment to the United States Constitution.

 160.      At all times herein, Ohio State and its employees, agents, and/or representatives were

 acting under color of law, to wit, under color of statutes, ordinances, regulations, policies,

 customs, and usages of The Ohio State University and State of Ohio.

 161.      The acts as alleged throughout this Complaint demonstrate a violation of these

 constitutionally protected rights, which were clearly established at the time of the acts and of

 which OSU had knowledge.




                                                   37
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 38 of 39 PAGEID #: 145




 162.   OSU had the ultimate responsibility and authority to train and supervise its employees,

 agents, and representatives, in the appropriate manner of preventing, detecting, investigating and

 reporting sexual abuse, assault, and molestation and as a manner of custom, policy, and/or

 practice failed to do so with deliberate indifference.

 163.   At all times pertinent herein, OSU acted in supervisory role to Dr. Strauss.

 164.   By failing to prevent the repeated sexual assaults, abuse, and molestation and other

 sexual deviant acts upon the Plaintiffs, and by failing to appropriately respond to numerous

 reports of Dr. Strauss’ sexual assault, abuse, and molestation in a manner that was clearly

 unreasonable it amounts to deliberate indifference for which, OSU is liable to Plaintiff pursuant

 to 42 U.S.C. §1983.

 550.   OSU is also liable to Plaintiff under 42 U.S.C. §1983 for maintaining customs, policies,

 and practices that deprive Plaintiff of rights secured by the Fourteenth Amendment to the United

 States Constitution in violation of 42 U.S.C. §1983.

 551.   As a direct and proximate result of OSU’s violation of Plaintiff’s rights under 42 U.S.C.

 §1983, Plaintiff has suffered and continue to suffer emotional distress, physical manifestation of

 emotional distress, mental anguish, fear, depression, anxiety, trauma, disgrace, embarrassment,

 shame, humiliation, loss of self-esteem, and loss of enjoyment of life; were prevented and

 continue to be prevented from obtaining the full enjoyment of life; and have incurred various

 personal expenses.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that this Honorable Court:




                                                  38
Case: 2:19-cv-04746-MHW-EPD Doc #: 18 Filed: 06/09/20 Page: 39 of 39 PAGEID #: 146




        a.      Enter judgment in favor of Plaintiff on his First, Second, Third and Fourth causes

        of action under Title IX 20 U.S.C. §1681(a), et seq. against Defendant The Ohio State

        University;

 b.     Declare Defendant The Ohio State University’s conduct in violation of Title IX of the

 Education Amendments of 1972;

 c.     Declare Defendant The Ohio State University’s conduct in violation of 42 U.S.C. §1983;

 d.     Award Plaintiff compensatory damages in amounts to be established at trial, including,

 without limitation, payment of Plaintiff’s medical and other expenses incurred as a consequence

 of the sexual abuse and/or harassment, OSU’s deliberate indifference, OSU’s fraudulent

 concealment, and OSU’s unlawful retaliation; damages for deprivation of equal access to the

 educational opportunities and benefits provided by OSU; and damages for past, present, and

 future emotional pain and suffering, ongoing mental anguish, loss of past, present and future

 enjoyment of life, and loss of future earnings and earning capacity;

        e.      Award Plaintiff pre-judgment and post-judgment interest;

        f.      Award Plaintiff their court costs and expenses, including attorney’s fees, pursuant

 to 42 U.S.C. § 1988 (b); and

        g.      Grant such other relief as this Court deems just and proper.

                                         JURY DEMAND

        Plaintiff demand a trial by jury on all issues in the above-mentioned Complaint.

                                                             Respectfully Submitted,

                                                             __/s/ J.C. Ratliff______
                                                             J.C. Ratliff (0027898)
                                                             200 W. Center St.
                                                             Marion, Ohio 43302
                                                             Tel: 740-383-6023
                                                             Email: attorney.ratliff@gmail.com

                                                 39
